
302 B.R. 791 (2003)
In re AMES DEPARTMENT STORES, INC., et al., Debtor.
Capital Commercial Properties, Inc., and Eden Center, Inc., Appellants,
v.
Ames Department Stores, Inc. and Ames Realty II, Inc., Appellees.
Bankruptcy Nos. 01-42217(REG) to 01-42221(REG). 03 Civ. 2308(GEL).
United States District Court, S.D. New York.
June 18, 2003.
Donald E. Sharpe, Mark J. Friedman, Piper Rudnick, LLP, Baltimore, MD, for Appellants.
Mitchell R. Berger, Michael T. Wood, Patton Boggs, LLP, Washington, D.C., for Appellees.

OPINION AND ORDER
LYNCH, District Judge.
The judgment is affirmed on the thorough and scholarly opinion of the Bankruptcy Court, 288 B.R. 339, 339-51 (Bankr.S.D.N.Y.2003). Appellant does not dispute that under Virginia law, the question is how a reasonable landlord would have understood the tenant's intent. As the Bankruptcy Court rightly held, on the record of this case no reasonable factfinder could conclude that any reasonable landlord would have taken the letter extending the term of the lease as anything other than the unequivocal expression of the actual tenant's intent to renew the lease. Therefore, this Court need not reach the Bankruptcy Court's alternative grounds of decision, set forth in Parts III and IV of its decision, 288 B.R. at 351-56.
The Clerk is respectfully directed to enter judgment affirming the judgment of *792 the Bankruptcy Court, and to close the case.
SO ORDERED.
